§»ilt.,E

UNITED STATES DlSTR|CT COURT
EASTERN DlSTR|CT OF TENNESSEE

,- r:n

AT cHATTANooGA *'~"i ~"5*"! `q A 2" 38

U,;"~,. U!STFIYCT CUURY

NORTH PO|NTE INSURANCE COMPANY,

RAMONA THoiviPsoN AND cEin_ *

FLETcHER, * fw w
Prainrirrs, * No.: l OD] w ‘§LD

; attitude

Defendant

PET|TlON AND NOT|CE OF REIV|OVAL

1“ The above-named plaintiffs, on the 6"` day of Nlay, 2009, filed their Complaint
in the Circuit Court of Rhea County, Tennessee, against the above-named defendant
bearing Docket Number 26766.

2. A copy of the Summons and Comp|aint, which were served upon the
defendant through the Commissioner of |nsurance on l\/|ay11,2009, is attached hereto as
Exhibit "A" and filed herewith These documents are all of the process, pleadings and
orders which have been served upon the defendant

3. Plaintiffs were at the time of the commencement of said action and still are
citizens and residents of the State of Tennessee and of no other state.

4_ Defendant was at the time of the commencement of said action and still is a

corporation organized under the laws of the State of i\/lichigan and no other state.

Case 1:09-cv-00156-WBC Document 1 Filed 06/09/09 Page 1 of 3 Page|D #: 1

`:`:i-\Sl'liRH DlST. TEHN.

:"Fl""f. €`LF'F‘.K

5. The amount in controversy in said action exceeds the sum or value of
Seventy-Five Thousand ($75,000.00) Dol|ars, exclusive of interest and costs, and is wholly
between the citizens of different states and is within thejurisdiction of this Court, pursuant
to the provisions of Title 28 United States Code, section 1332 and is removable to this
Court pursuant to the provisions of Titie 28 United States Code, section 1441.

6. Counsel for defendant expressly reserves defendant’s right to all defenses
and objections in this action after removal

7. This Notice is filed with this Court within thirty (30) days after service of the
Summons and Comp|aint.

WHEREFORE, defendant prays this Court accept this Notice and to proceed with

the action heretofore referred to in accordance with iaw.

LE|TNER, W|LL|AMS, DOOLEY &
NAPOL|TAN, PLLC

BY; QA¢WQi/MW

DAV|D W. NOBLIT (TNBPR#: 685)
AMANDA E. KELLEY (TNBPR 022872)
Attorneys for Defendant

801 Broad Street

Third Floor, Pioneer Buiiding
Chattanooga, TN 37402-2621

§ » (423) 265-0214

in - (423)266-5490

1, iiior-,sse§-c'? . port i 2

Case 1:09-cv-00156-WBC Document 1 Filed 06/09/09 Page 2 of 3 Page|D #: 2

CERT|F|CATE OF SERV|CE

l hereby certify that | have this day served a copy of the within and foregoing
documents upon:

Howard L. Upchurch, Esquire
P.O. Box 381 7
Pikeville, TN 37367
via hand delivery, via facsimile, or by mailing him a copy of the same through the

United States mail in a properly addressed envelope with sufficient postage affixed to
reach its destination

This CZ<%§ dayof June,2009.

_ ’”l
rawme
DAV|D W. NOBL|T
AMANDA E. KELLEY

loc)rstz:r:z".m;~ci 3

Case 1:09-cv-00156-WBC Document 1 Filed 06/09/09 Page 3 of 3 Page|D #: 3

